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                    EXHIBIT C
Case 4:18-cv-11451-LVP-EAS ECF No. 18-4 filed 06/15/18        PageID.393    Page 2 of 30



             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN
 ____________________________________
                                     )
 SPEECH FIRST, INC.,                 )
                                     )
                                     )
                Plaintiff,           )
                                     ) Civil No. 4:18-cv-11451-LVP-EAS
 v.                                  ) Hon. Linda V. Parker
                                     ) Mag. Judge Elizabeth A. Stafford
 MARK SCHLISSEL, et al. ,            )
                                     )
                                     )
                Defendants.          )
 ____________________________________)

                  DECLARATION OF E. ROYSTER HARPER

       I, E. Royster Harper, submit this declaration in connection with the above-

 captioned matter and in support of Defendants’ opposition to Plaintiff’s motion for a

 preliminary injunction.

       1.     I am Vice President for Student Life at the University of Michigan. My

 responsibilities include overseeing the 24 comprehensive departments in Student Life,

 including the Dean of Students/Bias Response Team, Office of Student Conflict

 Resolution (“OSCR”), University Housing, Counseling and Psychological Services, the

 Program on Intergroup Relations, Student Legal Services, University Unions/Center

 for Campus Involvement, University Health Services, and Career Center. I have served

 in this role since 1999. I have worked for the University in some capacity since 1979,

 including as Senior Associate Vice President and Dean of Students. I am also an alumna

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 of the University (B.A. and M.A.) and hold a doctorate from the University of

 Pennsylvania.

 Statement of Student Rights and Responsibilities

          2.    The Statement of Student Rights and Responsibilities (“Statement”) is the

 principal document at the University of Michigan that sets forth expectations for

 student behavior outside of students’ academic work. 1 The Statement is intended to

 maintain a campus climate that supports learning for all students.

          3.    The Statement begins with a discussion of student rights, including

 specifically the right to “freedom of expression.” As the document states, “The

 University has a long tradition of student activism and values freedom of expression,

 which includes voicing unpopular views and dissent.” PI Ex. A. After discussing

 student rights, the Statement details student responsibilities—and, specifically, twenty-

 one categories of violations that are subject to discipline, the procedures followed for

 disciplinary actions, and possible sanctions that are available.

          4.    Among the twenty-one enumerated categories of violations is “Harassing

 or bullying another person—physically, verbally, or through other means.”

 Definitions

          5.    The Statement itself does not define many of the terms it uses.

 Nevertheless, OSCR created and posted on its website a document titled “Definitions”



 1
     Students’ academic work is governed by different policies.
                                              2
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 to provide additional guidance to students about some of the terms used in the

 Statement.

       6.     As of early June 2018, the Definitions document provided four definitions

 of “harassing” or “harassment”—one from the Merriam Webster Dictionary, two taken

 from other University sources (the website of the “Expect Respect” educational

 initiative and a University policy on discrimination), and one from a Michigan criminal

 statute. It contained two definitions of “bullying”— one from the Merriam Webster

 Dictionary and one from a Michigan statute.

       7.     Of the posted definitions, those from the Michigan statutes were the most

 specific. And, in practice, the concepts of “harassing” and “bullying” utilized by OSCR

 were consistent with those more specific Michigan statutory definitions.

       8.     Prior to the filing of the Complaint in this lawsuit, the University was

 already reviewing its websites and policies to ensure they complied with our First

 Amendment principles and legal obligations. After the Complaint was filed, that review

 was accelerated.

       9.     On June 11, 2018, the University announced to the University community

 that it had revised the definitions of “harassing” and “bullying” that appear on the

 OSCR website. A copy of these announcements is attached as Exhibit 1.

       10.    Specifically, the University streamlined its definitions by eliminating the

 definitions from the dictionary and from other University policies—leaving only the

 definitions of “harassing” and “bullying” that were drawn from Michigan statutes. At
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 the same time, the University revised the statutory language to narrow the potential

 scope of what is prohibited and add additional safeguards for free speech.

       11.    The current definition of harassing is:

       Harassing: conduct directed toward a person that includes repeated or
       continuing unconsented contact that would cause a reasonable individual
       to suffer substantial emotional distress and that actually causes the person
       to suffer substantial emotional distress. Harassing does not include
       constitutionally protected activity or conduct that serves a legitimate
       purpose.

       12.    The current definition of bullying is:

       Bullying: any written, verbal, or physical act, or any electronic
       communication, directed toward a person that is intended to cause or that
       a reasonable person would know is likely to cause, and that actually causes,
       physical harm or substantial emotional distress and thereby adversely
       affects the ability of another person to participate in or benefit from the
       University’s educational programs or activities. Bullying does not include
       constitutionally protected activity or conduct that serves a legitimate
       purpose.

       13.     Both definitions are now available online as part of the Definitions

 document, at https://oscr.umich.edu/article/definitions, and are attached as Exhibit 2.

       14.    Unlike the definitions that appeared in the initial Definitions document,

 these revised definitions were considered and approved by multiple members of the

 University’s leadership, including the University’s President.        They reflect the

 considered judgment of the President and others that these tightened and clarified

 definitions more precisely and accurately reflect the commitment to freedom of

 expression that has always been expressed in the Statement itself. See Ex. 1.



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       15.    As of the date of their adoption, these definitions provide definitive

 statements of what constitutes harassing and bullying under the Statement. These

 definitions, and no others, now will govern the initiation and conduct of disciplinary

 proceedings involving harassing or bullying.

 Amendment to the Statement

       16.    On July 1, 2018, an amendment to the Statement itself will go into effect.

 This amendment was announced in an email to the University community on April 18,

 2018. PI Ex. K. The amendment allows for sanctions to be enhanced in disciplinary

 cases involving bias-motivated misconduct. The enhanced sanctions will only apply if

 a student commits one of the existing Statement violations.

       17.    To achieve this, the amendment adds a new violation to the end of the list

 of violations in the Statement. It provides:

       V. Engaging in misconduct as defined in violations ‘A’ through ‘U’
       motivated by bias or prejudice. This includes behavior motivated on the
       basis of any person’s identity as protected by the University of Michigan’s
       Nondiscrimination Policy (race, color, national origin, age, marital status,
       sex, sexual orientation, gender identity, gender expression, disability,
       religion, height, weight, or veteran status) [201.89-1 and Regents bylaw
       14.06]. Sanctions may be enhanced for any misconduct listed in sections
       IV of the Statement of Student Rights and Responsibilities that is
       determined to be motivated on the basis of the above classifications. This
       violation will be evaluated under current legal standards.

 Id.




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         18.    This amendment went through a rigorous approval process.              It was

  proposed by the University's Central Student Government; studied and approved by

  the Student Relations Advisory Committee comprised of both faculty and students;

  and then considered and approved by the University President.           The amendment

  reflects a considered judgment by these constituents that bias-motived misconduct

  causes harm to students-and the broader University community-beyond that

  which is caused by the underlying misconduct itself.

        I declare under penalty of perjury th at the foregoing is true and correct.


                             Executed on:        -~--_,_V_\e~ _l ~- - -' 2018


                                                                                       ...
                                                 E. Royst;;rper




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                   EXHIBIT 2
Definitions | Office of Student Conflict Resolution                                            Page 1 of 15
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    Definitions


       A. Physically harming another person including acts such as killing, assaulting, or
       battering.

        Campus Community               Assault (http://www.urespect.umich.edu/report/definitions/):
        Perspectives                   an intentional act, verbal or physical, that can be described
                                       as creating fear of physical harm.

                                       Battery (http://www.urespect.umich.edu/report/definitions/):
                                       an intentional and unwanted act of physical contact.


        University Policies            Violence in the University Community
                                       (http://spg.umich.edu/pdf/601.18.pdf)
                                       (THE UNIVERSITY OF MICHIGAN
                                       STANDARD PRACTICE GUIDE)


        Michigan State Law             Physical Assault (http://www.legislature.mi.gov/(S
                                       (nvtuc555lznw4r2emotdhm45))/mileg.aspx?
                                       page=GetObject&objectname=mcl-380-
                                       1310&queryid=20960206&highlight=physical%20AND%
                                       20assault): intentionally causing or attempting to cause
                                       physical harm to another through force or violence.
                                       (Michigan Legislature)




       B. Engaging in sexual misconduct as defined by the University of Michigan Policy and
       Procedures on Student Sexual and Gender-based Misconduct and Other Forms of
       Interpersonal Violence. Students who are reported to have experienced or engaged in
       sexual misconduct are subject to the resolution procedures outlined in the University
       of Michigan Policy and Procedures on Student Sexual and Gender-based Misconduct
       and Other Forms of Interpersonal Violence




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        Campus Community               Sexual Assault (http://sapac.umich.edu/tags/sexual-assault):
        Perspectives                   any form of unwanted sexual contact obtained without
                                       consent and/or obtained through the use of force, threat of
                                       force, intimidation, or coercion.
                                       (Sexual Assault Prevention and Awareness Center)

                                       Sexual Harassment
                                       (http://sapac.umich.edu/article/63): unwelcome sexual
                                       advances, requests for sexual favors, and other verbal or
                                       physcial conduct of a sexual nature when either:

                                       The conduct is made as a term or condition of an individual's
                                       employment, education, living environment or participation in
                                       a University community.

                                       The acceptance or refusal of such conduct is used as the
                                       basis or a factor in decisions affecting an individual's
                                       employment, education, living environment, or participation
                                       in a University community.

                                       The conduct unreasonably impacts an individual's
                                       employment or academic performance or creates an
                                       intimidating, hostile or offensive environment for that
                                       individual's employment, education, living environment, or
                                       participation in a University community. (Sexual Assault
                                       Prevention and Awareness Center (http://sapac.umich.edu)).

                                       Sexual Assault (http://police.umich.edu/?s=sexual_assault):
                                       a crime involving forced or coerced "sexual
                                       penetration" (first and third degree) or "sexual
                                       contact" (second and fourth degree). (Department of Public
                                       Safety (http://police.umich.edu)).


        University Policies            University of Michigan Policy and Procedures on Student
                                       Sexual and Gender-based Misconduct and Other Forms of
                                       Interpersonal Violence
                                       (http://studentsexualmisconductpolicy.umich.edu)




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        Michigan State Law             Sexual Assault (http://www.legislature.mi.gov/(S
                                       (nvtuc555lznw4r2emotdhm45))/mileg.aspx?
                                       page=GetObject&objectname=mcl-600-
                                       2157a&queryid=20960421&highlight=sexual%20assault):
                                       assault with intent to commit criminal sexual conduct
                                       (http://www.legislature.mi.gov/(S
                                       (ed1lzt20xkjdtpf4g14aqg45))/mileg.aspx?
                                       page=getobject&objectname=mcl-750-520a).
                                       (Michigan Legislature)

                                       Sexual Harassment (http://www.legislature.mi.gov/(S
                                       (uzwwyaz1sc3w2y55qpdsup45))/mileg.aspx?
                                       page=GetObject&objectname=mcl-37-
                                       2103&queryid=20960483&highlight=sexual%
                                       20harassment#top): unwelcome sexual advances, requests
                                       for sexual favors, and other verbal or physical conduct or
                                       communication of a sexual nature under the following
                                       conditions:

                                       (i) Submission to the conduct or communication is made a
                                       term or condition either explicitly or implicitly to obtain
                                       employment, public accomodations or public services,
                                       education, or housing.

                                       (ii) Submission to or rejection of the conduct or
                                       communication by an individual is used as a factor in
                                       decisions affecting the individual's employment, public
                                       accomodations, or public services, education, or housing.

                                       (iii) The conduct or communication has the purpose or effect
                                       of substantially interfering with an individual's employment,
                                       public accomodations or public services, education, or
                                       housing, or creating an intimidating, hostile, or offensive
                                       employment, public accomodations, public services,
                                       educational, or housing environment. (Michigan Legislature
                                       Elliot-Larson Civil Rights Act (http://www.legislature.mi.gov/
                                       (S(veckbijgbrkgc42lt1urts45))/mileg.aspx?
                                       page=getobject&objectname=mcl-act-453-of-1976))




       C. Hazing




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        Campus Community               Hazing (http://www.umich.edu/~nohazing/recognize.html):
        Perspectives                   any action or situation, with or without the consent of the
                                       participants, which recklessly, intentionally, or unintentionally
                                       endangers the mental, physical, or academic heath or safety
                                       of a student.
                                       (Campus Anti-Hazing Campaign)


        University Policies            University Policy Against Hazing
                                       (https://deanofstudents.umich.edu/article/hazing-policies)

                                       Hazing: includes the following willful acts, with or without the
                                       consent of the individual involved:

                                        ·      physical injury, assault or battery

                                        ·      kidnapping or imprisonment

                                        ·     intentionally placing at risk of severe mental or
                                        emotional harm (putting "over the edge")

                                        ·       degradation, humiliation, or compromising of moral
                                        or religious values

                                        ·      forced consumption of any liquid or solid

                                        ·     placing an individual in physical danger (at risk)
                                        which includes abandonment

                                        ·     impairment of physical liberties which include
                                        curfews or other interference with academic endeavors.


        Michigan State Law             Hazing (http://www.legislature.mi.gov/(S
                                       (nvtuc555lznw4r2emotdhm45))/mileg.aspx?
                                       page=GetObject&objectname=mcl-750-
                                       411t&queryid=20960050&highlight=hazing#2): an
                                       intentional, knowing, or reckless act by a person acting
                                       alone or acting with others that is directed against an
                                       individual and that the person knew or should have known
                                       endangers the physical health or safety of the individual, and
                                       that is done for the purpose of pledging, being initiated into,
                                       affiliating with, participating in, holding office in, or
                                       maintaining membership in any organization.
                                       (Michigan Legislature)




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       D. Stalking another person as defined by the University of Michigan Policy and
       Procedures on Student Sexual and Gender-based Misconduct and Other Forms of
       Interpersonal Violence. Students who are reported to have experienced stalking by
       students are subject to the resolution procedures outlined in the University of
       Michigan Policy and Procedures on Student Sexual and Gender-based Misconduct and
       Other Forms of Interpersonal Violence

        Campus Community               Stalking (http://sapac.umich.edu/tags/stalking): a willful
        Perspectives                   course of conduct involving repeated or continuing
                                       harassment made against the expressed wishes of another
                                       individual, which causes that individual to feel emotional
                                       distress including fear, harassment, intimidation or
                                       apprehension.
                                       (SAPAC)


        University Policies            Violence in the University Community
                                       (http://spg.umich.edu/pdf/601.18.pdf)
                                       (Standard Practice Guide)




        Michigan State Law             Stalking: (http://www.legislature.mi.gov/(S
                                       (uzsbam45lr4hnm45nalipx45))/mileg.aspx?
                                       page=getObject&objectName=mcl-750-411h) means a
                                       willful course of conduct involving repeated or continuing
                                       harassment of another individual that would cause a
                                       reasonable person to feel terrorized, frightened, intimidated,
                                       threatened, harassed, or molested and that acutally causes
                                       the victim to feel terrorized, frightened, intimidated,
                                       threatened, harassed, or molested.




       E. Perpetrating intimate partner violence (also known as dating or domestic violence)
       as defined by the University of Michigan Policy and Procedures on Student Sexual and
       Gender-based Misconduct and Other Forms of Interpersonal Violence. Students who
       are reported to have experienced intimate partner violence by students are subject to
       the resolution procedures outlined in the University of Michigan Policy and Procedures
       on Student Sexual and Gender-based Misconduct and Other Forms of Interpersonal
       Violence

        University of Michigan        Violence in the University Community
        Standard Practice Guide       (http://spg.umich.edu/pdf/601.18.pdf)




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        University Policies           Domestic Violence Awareness, Guidelines for Supervisors
                                      (http://hr.umich.edu/stopabuse/supervisors/guidelines.html):
                                      Domestic Violence occurs when a person uses physical
                                      violence, coercion, threats, intimidation, isolation, stalking, or
                                      other forms of emotional, sexual or economic abuse to
                                      control another partner in an intimate relationship. This
                                      includes any behaviors that intimidate, manipulate, humiliate,
                                      isolate, frighten, terrorize, coerce, threaten, blame, hurt,
                                      injure, or wound someone. Domestic violence can be a single
                                      act or a pattern of behavior in relationships which Michigan
                                      law defines as: currently or formerly married, currently or
                                      formerly dating, currently or formerly living together or having
                                      a child in common. Domestic violence may be known by
                                      other terms, including intimate partner violence or
                                      relationship abuse.


        Michigan State Law            Domestic Violence (http://www.legislature.mi.gov/(S
                                      (qhycpc55ptn3nkuy3vz1u3qg))/mileg.aspx?
                                      page=getobject&objectname=mcl-400-
                                      1501&query=on&highlight=domestic%20AND%20violence%
                                      20AND%20domestic%20AND%20violence): the occurrence
                                      of any of the following acts by a person that is not an act of
                                      self-defense:

                                      (i) Causing or attempting to cause physical or mental harm to
                                      a family or household member.

                                      (ii) Placing a family or household member in fear of physical
                                      or mental harm.

                                      (iii) Causing or attempting to cause a family or household
                                      member to engage in involuntary sexual activity by force,
                                      threat of force, or duress.

                                      (iv) Engaging in activity toward a family or household
                                      member that would cause a reasonable person to feel
                                      terrorized, frightened, intimidated, threatened, harassed, or
                                      molested.

                                      (Michigan Legislature)




       F. Harassing or bullying another person−physically, verbally, or through other means




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        University Policies            Harassing: conduct directed toward a person that includes
                                       repeated or continuing unconsented contact that would
                                       cause a reasonable individual to suffer substantial
                                       emotional distress and that actually causes the person to
                                       suffer substantial emotional distress. Harassing does not
                                       include constitutionally protected activity or conduct that
                                       serves a legitimate purpose.

                                       Bullying: any written, verbal, or physical act, or any
                                       electronic communication, directed toward a person that is
                                       intended to cause or that a reasonable person would know
                                       is likely to cause, and that actually causes, physical harm or
                                       substantial emotional distress and thereby adversely affects
                                       the ability of another person to participate in or benefit from
                                       the University’s educational programs or activities. Bullying
                                       does not include constitutionally protected activity or
                                       conduct that serves a legitimate purpose.




       G. Tampering with fire or other safety equipment or setting unauthorized fires




        Campus Community               False Fire Alarms: (http://www.housing.umich.edu/fire-
        Perspectives                   safety)Nothing does more harm to fire safety in residence
                                       halls than pulling a false alarm. It can lead to residents
                                       assuming that any alarm is false and if they do not evacuate
                                       the building they endanger themselves and others if the
                                       alarm represents an actual fire.

                                       (Campus Housing Fire Safety Guide)




       H. Illegally possessing or using alcohol

        Campus Community              UHS Alcohol Guidelines
        Perspectives                  (http://www.uhs.umich.edu/communitypartners)


        University Policies           Alcohol & Other Drugs Policy
                                      (http://www.umich.edu/~spolicy/studentalcoholdrug.html#2)




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        Michigan State Law            Constitution of Michigan 1963 (http://www.legislature.mi.gov/
                                      (S(bmhen4vzb0lhzznfy3h1px45))/mileg.aspx?
                                      page=GetObject&objectname=mcl-Article-IV-
                                      40&queryid=20961944&highlight=alcohol): A person shall
                                      not sell or give any alcoholic beverage to any person who
                                      has not reached the age of 21 years. A person who has not
                                      reached the age of 21 years shall not possess any alcoholic
                                      beverage for the purpose of personal consumption. An
                                      alcoholic beverage is any beverage containing one-half of
                                      one percent or more alcohol by volume.
                                      (Michigan Legislature)




       I. Illegally distributing, manufacturing, or selling alcohol

        University Policies           Alcohol & Other Drugs Policy
                                      (http://www.umich.edu/~spolicy/studentalcoholdrug.html#2)


        Michigan State Law            Constitution of Michigan 1963 (http://www.legislature.mi.gov/
                                      (S(bmhen4vzb0lhzznfy3h1px45))/mileg.aspx?
                                      page=GetObject&objectname=mcl-Article-IV-
                                      40&queryid=20961944&highlight=alcohol): A person shall
                                      not sell or give any alcoholic beverage to any person who
                                      has not reached the age of 21 years. A person who has not
                                      reached the age of 21 years shall not possess any alcoholic
                                      beverage for the purpose of personal consumption. An
                                      alcoholic beverage is any beverage containing one-half of
                                      one percent or more alcohol by volume.
                                      (Michigan Legislature)

                                      Distribute (http://www.legislature.mi.gov/(S
                                      (3ftohvzqqdeprl55akr4nq45))/mileg.aspx?
                                      page=getObject&objectName=mcl-333-7105): means to
                                      deliver other than by administering or dispensing a controlled
                                      substance.
                                      (Michigan Legislature)




       J. Illegally possessing or using drugs




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        University Policies           Alcohol & Other Drugs Policy
                                      (http://www.umich.edu/~spolicy/studentalcoholdrug.html#2):
                                      While on University property all individuals are prohibited
                                      from possessing, consuming, manufacturing, dispensing, or
                                      being under the influence of illegal drugs or engaging in
                                      improper self-medication.

                                      Drug:
                                      (http://www.uhs.umich.edu/wellness/aod/policy.html) includes:
                                      a. controlled substances, as defined in 21 USC 802, which
                                      cannot be legally obtained; or
                                      b. legally obtainable controlled substances which were not
                                      legally obtained, including:

                                       ·     prescribed drugs when prescription is no longer valid;

                                       ·     prescribed drugs used contrary to the prescription;

                                       ·     prescribed drugs issued to another person.

                                      (UHS Drug Policy)


        Michigan State Law            Drug (http://www.legislature.mi.gov/(S
                                      (3ftohvzqqdeprl55akr4nq45))/mileg.aspx?
                                      page=getObject&objectName=mcl-333-7105): means a
                                      substance recognized as a drug in the official United States
                                      pharmacopoeia, official homeopathic pharmacopoeia of the
                                      United States, or official national formulary, or any
                                      supplement to any of them; a substance intended for use in
                                      the diagnosis, cure, mitigation, treatment, or prevention of
                                      disease in human beings or animals; a substance other than
                                      food intended to affect the structure or any function of the
                                      body of human beings or animals; or, a substance intended
                                      for use as a component of any article specified in this
                                      subsection. It does not include a device or its components,
                                      parts, or accessories.
                                      (Michigan Legislature)




       K. Illegally distributing, manufacturing, or selling drugs.

        Campus Community
        Perspectives




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        University Policies            Alcohol & Other Drugs Policy
                                       (http://www.uhs.umich.edu/communitypartners): While on
                                       University property all individuals are prohibited from
                                       possessing, consuming, manufacturing, dispensing, or
                                       being under the influence of illegal drugs or engaging in
                                       improper self-medication.


        Michigan State Law             Drug (http://www.legislature.mi.gov/(S
                                       (3ftohvzqqdeprl55akr4nq45))/mileg.aspx?
                                       page=getObject&objectName=mcl-333-7105): means a
                                       substance recognized as a drug in the official United States
                                       pharmacopoeia, official homeopathic pharmacopoeia of the
                                       United States, or official national formulary, or any
                                       supplement to any of them; a substance intended for use in
                                       the diagnosis, cure, mitigation, treatment, or prevention of
                                       disease in human beings or animals; a substance other than
                                       food intended to affect the structure or any function of the
                                       body of human beings or animals; or, a substance intended
                                       for use as a component of any article specified in this
                                       subsection. It does not include a device or its components,
                                       parts, or accessories. (Michigan Legislature)

                                       Distribute (http://www.legislature.mi.gov/(S
                                       (3ftohvzqqdeprl55akr4nq45))/mileg.aspx?
                                       page=getObject&objectName=mcl-333-7105): means to
                                       deliver other than by administering or dispensing a
                                       controlled substance.
                                       (Michigan Legislature)




       L. Intentionally and falsely reporting bombs, fires, or other emergencies to a University
       official




        Campus Community               False Fire Alarms: (http://www.housing.umich.edu/node/63)
        Perspectives                   Nothing does more harm to fire safety in residence halls
                                       than pulling a false alarm. It can lead to residents assuming
                                       that any alarm is false and if they do not evacuate the
                                       building they endanger themselves and others if the alarm
                                       represents an actual fire.

                                       (Campus Housing Fire Safety Guide)




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       M. Stealing, vandalizing, damaging, destroying, or defacing University property or the
       property of others

        Campus Community           Vandalism (http://www.urespect.umich.edu/report/definitions/):
        Perspectives               the destruction or alteration of property (individual, public or
                                   communal)


        Michigan State Law         Vandalism
                                   (http://www.michigan.gov/documents/VAND2000_17338_7.pdf):
                                   is the willful or malicious destruction, injury, disfigurement, or
                                   defacement of any public or private property, real or personal,
                                   without consent of the owner or person having control.
                                   (Michigan Legislature)




       N. Obstructing or disrupting classes, research projects, or other activities or programs
       of the University; or obstructing access to university facilities, property, or programs
       (except for behavior that is protected by the University’s policy on Freedom of Speech
       and Artistic Expression)

        Campus Community              Safety In Residence Hall
        Perspectives                  (http://www.housing.umich.edu/system/files/pdfs/CLAM.pdf)

                                      University Housing is committed to providing housing and
                                      facilities that are safe for residents and guests. The following
                                      standards are designed to protect the interest of all students.

                                      2.1 Disruptive Behavior
                                      Behavior that is disruptive to orderly community living is
                                      prohibited. In the residence hall communities, this includes,
                                      but is not limited to throwing items in the hallways, bouncing
                                      balls, engaging in horseplay or creating a health or safety
                                      hazard. Riding a bike, skateboarding and rollerblading are
                                      prohibited inside of all residence halls. Possessing or using
                                      any motor-driven vehicle inside a residence hall is also
                                      prohibited, except for assistive devices utilized by a person
                                      with a disability. Additional prohibited behavior includes, but
                                      is not limited to, streaking, nudity and sexual activity in
                                      common areas.

                                      (Community Living at Michigan)




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        University Policies           U-M Policy on Freedom of Speech and Artistic Expression
                                      (http://www.umich.edu/~spolicy/statefree.html)



       O. Making, possessing, or using any falsified University document or record; altering
       any University document or record, including identification cards and meal cards

        University Policies            University Records (http://spg.umich.edu/pdf/601.08.pdf): all
                                       records, regardless of their form, prepared, owned, used, in
                                       the possession of, or retained by administrators, faculty
                                       acting in administrative capacities, and staff of university
                                       units in the performance of an official function.
                                       (Standard Practice Guide)




       P. Assuming another person's identity or role through deception or without proper
       authorization. Communicating or acting under the guise, name, identification, email
       address, signature, or indicia of another person without proper authorization, or
       communicating under the rubric of an organization, entity, or unit that you do not have
       the authority to represent

        University Policies:           Identity Misrepresentation
                                       (http://spg.umich.edu/pdf/601.19.pdf)
                                       (Standard Practice Guide)

                                       Proper use of Information Resources, Information
                                       Technology, and Networks at the University of Michigan
                                       (http://spg.umich.edu/pdf/601.07-0.pdf)
                                       (Standard Practice Guide)




       Q. Failing to leave University controlled premises when told to do so by a police or
       security officer with reasonable cause.




       R. Conviction, a plea of no contest, acceptance of responsibility, or acceptance of
       sanctions for a crime of civil infraction (other than a minor traffic offense) in state or
       federal court if the underlying behavior impacts the University community




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       S. Misusing, failing to comply with, or jeopardizing Statement procedures, sanction, or
       mediated agreements, or interfering with participants involved in the resolution
       process




       T. Violating University computer policies

        University Policies            Proper Use of Information Resources, Information
                                       Technology, and Networks at the University of Michigan
                                       (http://spg.umich.edu/policy/601.07)




       U. Possessing, using, or storing firearms, explosives, or weapons on University
       controlled property or at University events or programs

        University Policies            Weapon Possession (http://spg.umich.edu/pdf/201.94.pdf)
                                       (Standard Practice Guide)

                                       Dangerous Weapon
                                       (http://www.regents.umich.edu/ordinance.pdf): any firearm or
                                       any other dangerous weapon as defined in or interpreted
                                       under Michigan law or…any knife, sword or machete having
                                       a blade longer than four (4) inches, or, in the case of a knife
                                       with a mechanism to lock the blade in place when open,
                                       longer than three (3) inches.

                                       (Board of Regents Ordinance)




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        Michigan State Law             Firearms (http://www.legislature.mi.gov/(S
                                       (nvtuc555lznw4r2emotdhm45))/mileg.aspx?
                                       page=GetObject&objectname=mcl-28-
                                       421&queryid=20960794&highlight=dangerous%20AND%
                                       20weapon): a weapon from which a dangerous projectile
                                       may be propelled by an explosive, or by gas or air. Firearm
                                       does not include a smooth bore rifle or handgun designed
                                       and manufactured exclusively for propelling by a spring, or
                                       by gas or air, BB's not exceeding .177 caliber.
                                       (Michigan Legislature)

                                       Explosives (http://www.legislature.mi.gov/(S
                                       (nvtuc555lznw4r2emotdhm45))/mileg.aspx?
                                       page=GetObject&objectname=mcl-257-
                                       15&queryid=20960895&highlight=explosives): any chemical
                                       compound or mechanical mixture that is commonly used or
                                       intended for the purpose of producing an explosion and
                                       which contains any oxidizing and combustive units or other
                                       ingredients in such proportions, quantities, or packing that
                                       an ignition by fire, friction, by concussion, by percussion, or
                                       by detonator of any part of the compound or mixture may
                                       cause such a sudden generation of highly heated gases that
                                       the resultant gaseous pressures are capable of producing
                                       destructible effects on contiguous objects or of destroying
                                       life or limb.
                                       (Michigan Legislature)

                                       Dangerous Weapon (http://www.legislature.mi.gov/(S
                                       (nvtuc555lznw4r2emotdhm45))/mileg.aspx?
                                       page=GetObject&objectname=mcl-380-
                                       1313&queryid=20960794&highlight=dangerous%20AND%
                                       20weapon): a firearm, dagger, dirk, stiletto, knife with a
                                       blade over 3 inches in length, pocket knife opened by a
                                       mechanical device, iron bar, or brass knuckles.
                                       (Michigan Legislature)




       Additional Information

       The Statement of Student Rights and Responsibilities (/statement)




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                                                 (https://studentlife.umich.edu)


  100 Student Activities Building
  515 East Jefferson
  Ann Arbor, MI 48109-1316

     9 AM - 5 PM, Mon. - Fri.
     (734) 936-6308 (http://tel:(734) 936-6308)
     (734) 615-8826 (http://tel:(734) 615-8826)
     oscr@umich.edu (mailto:oscr@umich.edu)
     Map (node/143)




                                                                           OUR STRATEGIC PLAN FOR
                                                                       DIVERSITY, EQUITY & INCLUSION
                                                                  (https://studentlife.umich.edu/diversity-equity-
                                                                                  inclusion) > >
                                                                  (https://studentlife.umich.edu/diversity-equity-
                                                                                      inclusion)
             Web Accessibility Statement (http://studentlife.umich.edu/accessib) | Non-Discrimination Policy
                        (http://hr.umich.edu/oie/ndpolicy.html) | U–M Gateway (//umich.edu)
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https://oscr.umich.edu/article/definitions                                                                     6/13/2018
